        Case 1:21-cv-00936-JLT-SKO Document 71 Filed 09/15/23 Page 1 of 2


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 8                                  UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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     COMMERCIAL CREDIT GROUP, INC.,                   )   Case No.: 1:21-cv-00936-JLT-SKO
12                                                    )
                    Plaintiff,                        )   ORDER ADOPTING IN FULL THE FINDINGS
13                                                    )   AND RECOMMENDATIONS GRANTING
            v.                                        )   PLAINTIFF’S AMENDED MOTION FOR
14                                                    )   DEFAULT JUDGMENT AND APPLICATION
     NO LIMIT LOGISTICS, INC., et al.,                )   FOR WRIT OF POSSESSION
15                                                    )
                    Defendants.                       )   (Docs. 28, 65, 69)
16                                                    )
                                                      )
17                                                    )

18          Commercial Credit Group, Inc. initiated this action against No Limit Logistics, Inc. and

19   Oupkarpreet Singh Jugpal (collectively, “Defendants”). (Doc. 1.) The complaint asserts one claim for

20   possession of personal property, three 2016 Utility Reefer Trailers with Carrier 7400Xs, which served

21   as collateral pursuant to an agreement between the parties. (Id.)

22          Plaintiff filed a notice of application for writ of possession as to the Trailers. (Doc. 28.)

23   Defendants were served with the complaint and the writ of possession on September 13, 2022. (See

24   Docs. 34–37.) Neither Defendant filed an answer nor took any action expressing an intent to defend

25   against the lawsuit. (See Docket.)

26          Plaintiff requested entry of default against Defendants, which the Clerk of Court. (See Docs.

27   40, 41.) Plaintiff has now filed an amended motion for default judgment requesting that the Court

28   award Plaintiff possession of the Trailers. (Doc. 65.) Defendants did not oppose the motion.

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        Case 1:21-cv-00936-JLT-SKO Document 71 Filed 09/15/23 Page 2 of 2


 1          The assigned Magistrate Judge evaluated the motion and issued findings and recommendations,

 2   recommending that the Court grant Plaintiff’s amended motion for default judgment and writ of

 3   possession. (Doc. 69.) The findings and recommendations notified the Defendants that they had 21

 4   days within which to file objections. (Id. at 12.) More than 21 days have passed, and they have not

 5   done so.

 6          According to 28 U.S.C. § 636 (b)(1)(C) and Britt v. Simi Valley United School Dist., 708 F.2d

 7   452, 454 (9th Cir. 1983), the Court conducted a de novo review of the case. Having carefully reviewed

 8   the matter, the Court finds the findings and recommendations are supported by the record and proper

 9   analysis. Based upon the foregoing, the Court ORDERS:

10          1.     The findings and recommendations filed August 23, 2023 (Doc. 69) are ADOPTED IN

11                 FULL.

12          2.     Plaintiff’s amended motion for default judgment (Doc. 65) is GRANTED.

13          3.     Plaintiff’s application for writ of possession (Doc. 28) is GRANTED.

14          4.     The Clerk of Court shall CLOSE this case.

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16   IT IS SO ORDERED.

17      Dated:    September 15, 2023
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